Case 1:15-cv-00363-WJM-STV Document 164 Filed 11/01/21 USDC Colorado Page 1 of 1




                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLORADO
                          Byron G. Rogers United States Courthouse
                               1929 Stout Street, Room C450
                                   Denver, Colorado 80294
   LEWIS T. BABCOCK                                                               303-844-2527
     Judge



                                          November 1, 2021




   TO:           Jeffrey Colwell, Clerk

   FROM:         Judge Babcock                       s/LTB

   RE:           Civil Action No. 15-cv-00363
                 Fryberger v. TripTelevision, LLC et al




   Exercising my prerogative as a senior judge, I request that this case be reassigned.




   LTB/jp
